          18-22311-rdd        Doc 7     Filed 03/01/18 Entered 03/02/18 00:23:09                   Imaged
                                        Certificate of Notice Pg 1 of 2
                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF NEW YORK
                                           300 Quarropas Street
                                           White Plains, NY 10601


IN RE: Craig S. Forster                                     CASE NO.: 18−22311−rdd

Social Security/Taxpayer ID/Employer ID/Other Nos.:         CHAPTER: 7
xxx−xx−2737

                                              DEFICIENCY NOTICE

PLEASE TAKE NOTICE that, pursuant to the automatic dismissal provisions set forth in 11 U.S.C. § 521(i),
if: (1) you are an individual debtor or joint debtors, (2) you filed a voluntary case under chapter 7 or 13,
(3) you fail to cure those deficiencies identified by an asterisk [*] below, and (4) the Court does not grant an
extension of time or order otherwise, your case may be dismissed without further notice on or after the
forty−sixth (46th) day following the commencement of the case.

PLEASE TAKE FURTHER NOTICE that nothing herein modifies the deadline by which any document must
be filed under the applicable provisions of the Bankruptcy Code or Federal Rules of Bankruptcy Procedure, or
implies that the information contained in any filed document is adequate or sufficient. Additionally, the failure
to file any required document by such deadline may be cause for the dismissal or conversion of your case prior
to the forty−sixth (46th) day following the commencement of the case.

The current deficiencies in your case are listed below. If an asterisk [*] appears before a document listed below, the
document is a section 521(a)(1) requirement that, if not filed, would subject your case to the automatic dismissal
provisions (referred to in the first paragraph above).

Record of Interest in Education IRA due 03/12/2018


All required documents must be filed timely. The document(s) appearing above must be filed with the Court by the
applicable deadline.

NOTE: No later than the time of the meeting of creditors conducted by the trustee pursuant to 11 U.S.C. § 341(a),
you must provide the trustee with copies of all payment advices or other evidence of payment received from any
employer within 60 days prior to the date of filing of the petition. See General Order M−382.


Dated: February 27, 2018                                                   Vito Genna
                                                                           Clerk of Court
                18-22311-rdd           Doc 7     Filed 03/01/18 Entered 03/02/18 00:23:09                          Imaged
                                                 Certificate of Notice Pg 2 of 2
                                               United States Bankruptcy Court
                                               Southern District of New York
In re:                                                                                                     Case No. 18-22311-rdd
Craig S. Forster                                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0208-7                  User: juwalker                     Page 1 of 1                          Date Rcvd: Feb 27, 2018
                                      Form ID: def7or13                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 01, 2018.
db             +Craig S. Forster,   36 Overbrook Drive,   Millwood, NY 10546-1033

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 01, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 27, 2018 at the address(es) listed below:
              Dawn Kirby    on behalf of Debtor Craig S. Forster dkirby@ddw-law.com,
               btepper@ddw-law.com;dap@ddw-law.com
              Mark S. Tulis   mtulis.trustee@gmail.com, NY47@ecfcbis.com;ppucci@tuliswilkeslaw.com
              United States Trustee   USTPRegion02.NYECF@USDOJ.GOV
                                                                                            TOTAL: 3
